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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 01-cr-00214-WYD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.   WILLIE SMALL, et al,

        Defendants.


                                 PROPOSED ORDER


        The Court has for consideration the government’s Motion to Withdraw. Upon

 consideration, it is

        ORDERED that the government’s Motion is granted. AUSA Kathleen M. Tafoya

 is hereby allowed to withdraw from this case. Counsel of record for this case is AUSA

 Guy Till.

        IT IS SO ORDERED on this          day of ___________________, 2008.




                                         WILEY Y. DANIEL, JUDGE
                                         UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLORADO
